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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 West Palm Beach Division
                                   www.flsb.uscourts.gov

 In re:                                              Case No. 19-15509-BKC-EPK

 BRUCE STEVEN FRANK,                                 Chapter 11

       Debtor.
 ___________________________________/

       DEBTOR-IN-POSSESSION’S MOTION TO APPROVE SETTLEMENT
  BETWEEN BRUCE STEVEN FRANK AND ADVISORY TRUST GROUP, LLC, IN ITS
    CAPACITY AS TRUSTEE OF THE FRANK THEATERS LIQUIDATING TRUST

          Any interested party who fails to file and serve a written response to this
          motion within 21 days after the date of service stated in this motion shall,
          pursuant to Local Rule 9013-1(D), be deemed to have consented to the
          entry of an order in the form attached to this motion. Any scheduled
          hearing may then be canceled.

          Bruce Steven Frank (the “Debtor”), by undersigned counsel, pursuant to Fed. R.

Bankr. P. 9019 and Local Rules 9019-1, 9013-1(D), respectfully requests that the Court enter

an order approving the Settlement Agreement, between the Debtor and Advisory Trust Group,

LLC, in its capacity as Trustee (the “Liquidating Trustee”) of the Frank Theaters Liquidating

Trust (the “Liquidating Trust”) (collectively the “Parties”), attached hereto as Exhibit “A”, and

states as follows:

                                   FACTUAL BACKGROUND

          1.    On April 26, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

under Chapter 11 of the United States Bankruptcy Code. The Debtor is managing his affairs

as Debtor in Possession and no trustee or statutory committee has been appointed.

          2.    The Debtor held interests in several companies involved in the motion picture

theater industry, as well as ownership of commercial real properties. Most, if not all, of these

companies are now defunct and many filed their own Chapter 11 bankruptcy proceedings.




                              ________________________
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        3.       On December 19, 2018 (the “NJ Petition Date”), Frank Theaters

Bayonne/South Cove LLC et al. (collectively, the “NJ Debtors”) 1 filed voluntary petitions for

relief under Chapter 11 of the United States Bankruptcy Code, in the United States

Bankruptcy Court for the District of New Jersey (the “NJ Court”), which jointly-administered

cases are captioned as In re Frank Theatres Bayonne/South Cove, LLC, et al., Case No. 18-

34808 (SLM) (the “NJ Cases”).

        4.       On October 29, 2019, the NJ Court entered the Consent Order Confirming the

NJ Debtors’ Modified First Amended Plan of Reorganization Under Chapter 11 of the

Bankruptcy Code (the “Modified NJ Confirmation Order”), confirming the First Amended

Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code (the “Modified

NJ Plan”).

        5.       The Modified NJ Plan provides that “[a]s of the Effective Date…the Liquidating

Trust (for General Unsecured Claims)…shall have the sole authority to [f]ile objections, settle,

compromise, withdraw or litigate to judgment objections to all Claims.” See Plan at Section

VII.

        6.       Pursuant to the Frank Theaters Liquidating Trust Agreement (the “Liquidating

Trust Agreement”), the Liquidating Trustee “shall have the authority to allow, reconcile, and

file objections to General Unsecured Claims, and to settle, compromise, withdraw, or litigate

to judgment objections to any and all General Unsecured Claims.” See Liquidating Trust

Agreement, at section 3.3.

        7.       The Modified NJ Plan provides that the Liquidating Trust is “vested with and

shall retain and may enforce any and all Claims, rights, demands and Causes of Action of


1 The NJ Debtors are as follows: Frank Theatres Bayonne/South Cove, LLC; Frank All Star Theatres, LLC; Frank
Theatres Kingsport LLC; Frank Theatres Montgomeryville, LLC; Frank Theatres Rio, LLC; Frank Theatres Towne, LLC;
Frank Theatres Mt. Airy, LLC; Frank Theatres Sanford, LLC; Frank Theatres Shallotte, LLC; Revolutions at City Place
LLC; Revolutions of Saucon Valley LLC; Frank Entertainment Rock Hill LLC ; Frank Entertainment PSL, LLC; Frank
Hospitality Saucon Valley LLC; and Galleria Cinema, LLC.


                                  ________________________
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any kind or nature whatsoever held by, through, or on behalf of the Debtors, the Committee

and/or the Estates against any other Entity . . .” See Modified NJ Plan, at Section V 2.

         8.       On February 4, 2019, the Debtor filed a Proof of Claim No. 52 in the NJ Cases

for $1,462,916.00 as an unsecured claim (“Debtor’s POC”).

         9.       The Liquidating Trustee has asserted informal objections to the FL Plan and

FL Disclosure Statement. The Debtor disputes Liquidating Trustee’s objections.

                            SETTLEMENT TERMS AMONG THE PARTIES

         10.      The Debtor and Liquidating Trustee have discussed and argued their

respective positions and have otherwise negotiated in good faith regarding the Liquidating

Trustee rights against the Debtor’s POC and the Liquidating Trustee’s treatment in the FL

Plan, and have agreed to amicably resolve any and all issues relating to same, in order to

avoid the uncertainties and expense of litigation, as set forth in the Settlement Agreement

attached hereto as Exhibit “A”.

         11.      The Settlement Agreement provides for the following resolution:

                  a. The Liquidating Trustee shall not: (i) file a proof of claim in the FL
                     Bankruptcy; (ii) be entitled to any distribution as a general unsecured creditor
                     in the Debtor’s chapter 11 bankruptcy case; or (iii) object to either the
                     Debtor’s Disclosure Statement or Chapter 11 Plan.

                  b. The Liquidating Trustee shall retain any and all rights to assert all claims,
                     causes of action (including, for the avoidance of doubt, any claims against
                     the Debtor arising under chapter 5 of the Bankruptcy Code), and defenses
                     for the purpose of objecting to or defending against Debtor’s POC in the NJ
                     Cases, including, but not limited to, offsetting the amounts asserted in the
                     Debtor’s POC against the claims. The Liquidating Trustee has not waived
                     any claims by not appearing in or filing a proof of claim in the FL Bankruptcy
                     to the extent such claims are used defensively with respect to the Debtor’s
                     POC.




2 “Causes of Action,” in turn, is broadly defined to include, among other things, all avoidance actions under Chapter 5
of the Bankruptcy Code, all “Claims, actions, causes of action . . . counterclaims and crossclaims of any Debtor and/or
any of the Estates . . .” Id., at Section I.A.23.


                                    ________________________
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       12.     The foregoing overview of the Settlement Agreement is included here for

summary purposes only and is not intended to constitute a full recitation of the terms

of the Settlement Agreement. Accordingly, review of the foregoing or this Motion

should not be a substitute for review of the complete Settlement Agreement.

       13.     The Debtor believes that this settlement is in the best interest of the estate and

is fair and reasonable.

       14.     The Court has broad discretion to approve a settlement or compromise, and it

should do so unless the proposed settlement falls below the lowest point in the range of

reasonableness. In re Bi-Coastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993). The

Eleventh Circuit has set forth the following factors that must be considered in determining

whether to approve a settlement or compromise: (a) the probability of success in the litigation;

(b) the difficulties, if any, to be encountered in the matter of collection; (c) the complexity of

the litigation involved, and the expense, inconvenience and delay necessarily attending it;

and (d) the paramount interest of the creditors and a proper deference to their reasonable

views in the premises. In re Justice Oaks II, Ltd., 898 F.2d 1544, 1548 (11th Cir. 1990), cert.

denied 498 U.S. 959 (1990).

       15.     Specifically, with respect to factor (a), while the Debtor believes that the

probability of success is in the Debtor’s favor, any litigation would involve an evidentiary

hearing relating to whether the Liquidating Trustee had notice of the Debtor’s bankruptcy and

whether the Liquidating Trustee has valid claims against the Debtor.

       16.     Specifically, with respect to factor (b), the Debtor does not believe this is

relevant considering the circumstances.

       17.     Specifically, with respect to factor (c), as mentioned above, the litigation would

involve an evidentiary hearing. The litigation would add significant expense and delay in the

distribution of assets of the bankruptcy estate to the general unsecured creditors.


                             ________________________
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       18.     Specifically, with respect to factor (d), avoiding the litigation would save

significant expense to the bankruptcy estate, and significantly speed up the distribution of

assets of the bankruptcy estate.

       19.     Based on the above, the Debtor believes that the settlement is in the best

interest of the creditors.

       WHEREFORE, the Debtor respectfully requests the Court enter an order approving the

settlement with the Liquidating Trustee, as set forth above, in the form set forth in the attached

proposed Order, and for such other and further relief as the Court deems just and proper.

       Dated: June 1, 2020                               LEIDERMAN SHELOMITH ALEXANDER
                                                         + SOMODEVILLA, PLLC.
                                                         Attorneys for the Debtor
                                                         2699 Stirling Road, Suite C401
                                                         Ft. Lauderdale, Florida 33312
                                                         Telephone: (954) 920-5355
                                                         Facsimile: (954) 920-5371

                                                         By:_________/s/________________
                                                               FELIPE PLECHAC-DIAZ
                                                               Florida Bar No. 0105483
                                                               fpd@lsaslaw.com

                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all parties
listed on the attached creditor matrix, by U.S. Mail, on June 1, 2020.

                                                         By:_________/s/________________
                                                               Felipe Plechac-DIaz




                                ________________________
                             Leiderman Shelomith Alexander + Somodevilla, PLLC
                                          Miami | Fort Lauderdale
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     West Palm Beach Division
                                       www.flsb.uscourts.gov


In re:                                                       Case No.: 19-15509-BKC-EPK

BRUCE STEVEN FRANK,                                          Chapter 11

                                    Debtor.
                                                        /

  STIPULATION BETWEEN DEBTOR BRUCE STEVEN FRANK AND ADVISORY
TRUST GROUP, LLC, IN ITS CAPACITY AS TRUSTEE OF THE FRANK THEATERS
  LIQUIDATING TRUST RESOLVING THE LIQUIDATING TRUST’S INFORMAL
            OBJECTIONS TO DISCLOSURE STATEMENT/PLAN

         This Stipulation is entered into by and between, on the one hand, Bruce Steven Frank (the

“Debtor”), and, on the other hand, Advisory Trust Group, LLC, in its capacity as Trustee (the

“Liquidating Trustee”) of the Frank Theaters Liquidating Trust (the “Liquidating Trust”). The

Debtor and the Liquidating Trustee are collectively referred to herein as the “Parties,” and each a

“Party.”

                 A.          WHEREAS, on April 26, 2019 (the “FL Petition Date”), the Debtor filed

a voluntary petition for relief under Chapter 11 of the United States Bankruptcy Code, in the

United States Bankruptcy Court for the Southern District of Florida (the “FL Court”), which case

is captioned as In re Bruce Steven Frank., Case No. 19-15509-BKC-EPK (the “FL Bankruptcy”);

                 B.          WHEREAS, on April 21, 2020, the Debtor filed the Plan of

Reorganization of Bruce Steven Frank (the “FL Plan”) and the Disclosure Statement in Support

of Plan of Reorganization of Bruce Steven Frank (the “FL Disclosure Statement”);




DOCS_DE:228771.2 29184/002
                                                                             Exhibit A
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                C.       WHEREAS, the FL Plan seeks to affect the rights of third parties as

against the Debtor, including, inter alia, through a discharge of debts against the Debtor, see FL

Plan at Article VII, and an injunction over actions against the Debtor, see FL Plan at Article IX;

                D.       WHEREAS, on December 19, 2018 (the “NJ Petition Date”), Frank

Theaters Bayonne/South Cove LLC et al. (collectively, the “NJ Debtors”) 1 filed voluntary

petitions for relief under Chapter 11 of the United States Bankruptcy Code, in the United States

Bankruptcy Court for the District of New Jersey (the “NJ Court”), which jointly-administered

cases are captioned as In re Frank Theatres Bayonne/South Cove, LLC, et al., Case No. 18-

34808 (SLM) (the “NJ Cases”);

                E.       WHEREAS, on October 29, 2019, the NJ Court entered the Consent

Order Confirming the NJ Debtors’ Modified First Amended Plan of Reorganization Under

Chapter 11 of the Bankruptcy Code (the “Modified NJ Confirmation Order”), confirming the

First Amended Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code

(the “Modified NJ Plan”);

                F.       WHEREAS, the Modified NJ Plan provides that “[a]s of the Effective

Date…the Liquidating Trust (for General Unsecured Claims)…shall have the sole authority to

[f]ile objections, settle, compromise, withdraw or litigate to judgment objections to all Claims.”

See Plan at Section VII;

                G.       WHEREAS, pursuant to the Frank Theaters Liquidating Trust Agreement

(the “Liquidating Trust Agreement”), the Liquidating Trustee “shall have the authority to allow,




1
  The NJ Debtors are as follows: Frank Theatres Bayonne/South Cove, LLC; Frank All Star Theatres, LLC; Frank
Theatres Kingsport LLC; Frank Theatres Montgomeryville, LLC; Frank Theatres Rio, LLC; Frank Theatres Towne,
LLC; Frank Theatres Mt. Airy, LLC; Frank Theatres Sanford, LLC; Frank Theatres Shallotte, LLC; Revolutions at
City Place LLC; Revolutions of Saucon Valley LLC; Frank Entertainment Rock Hill LLC ; Frank Entertainment PSL,
LLC; Frank Hospitality Saucon Valley LLC; and Galleria Cinema, LLC.
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reconcile, and file objections to General Unsecured Claims, and to settle, compromise, withdraw,

or litigate to judgment objections to any and all General Unsecured Claims.” See Liquidating

Trust Agreement, at section 3.3;

                 H.       WHEREAS, the Modified NJ Plan provides that the Liquidating Trust is

“vested with and shall retain and may enforce any and all Claims, rights, demands and Causes of

Action of any kind or nature whatsoever held by, through, or on behalf of the Debtors, the

Committee and/or the Estates against any other Entity . . .” See Modified NJ Plan, at Section

V.M; 2

                 I.       WHEREAS, on February 4, 2019, the Debtor filed a Proof of Claim No.

52 in the NJ Cases for $1,462,916.00 as an unsecured claim (“Debtor’s POC”);

                 J.       WHEREAS, the Liquidating Trustee has asserted informal objections to

the FL Plan and FL Disclosure Statement;

                   NOW THEREFORE, the Parties agree as follows:

                 1.       Recitals A through J, inclusive, are true and correct and are an integral

part of this Stipulation.

                 2.       Notwithstanding anything to the contrary in the FL Plan, FL Disclosure

Statement, or any order that may be entered in this case, the Liquidating Trust’s rights under the

NJ Plan as modified by the NJ Confirmation Order shall not be abrograted, reduced, or enjoined

by the Debtor’s FL Plan or Confirmation Order except as expressly set forth herein.

                 3.       The Liquidating Trustee shall not: (i) file a proof of claim in the FL

Bankruptcy or be entitled to any claim whatsoever in the FL Bankruptcy; (ii) be entitled to any



2
 “Causes of Action,” in turn, is broadly defined to include, among other things, all avoidance actions under Chapter
5 of the Bankruptcy Code, all “Claims, actions, causes of action . . . counterclaims and crossclaims of any Debtor
and/or any of the Estates . . .” Id., at Section I.A.23.
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distribution as a creditor in the Debtor’s chapter 11 bankruptcy case; (iii) object to either the

Debtor’s Disclosure Statement or Chapter 11 Plan; or (iv) otherwise seek conversion or dismissal

of the FL Bankruptcy.

                 4.     The Liquidating Trustee shall retain any and all rights to assert all Claims,

Causes of Action (including, for the avoidance of doubt, any Claims against the Debtor arising

under chapter 5 of the Bankruptcy Code), and defenses, solely for the purpose of objecting to or

defending against Debtor’s POC in the NJ Cases, including, but not limited to, offsetting the

amounts asserted in the Debtor’s POC against the Claims. The Trustee has not waived any

Claims for purposes of this paragraph by not appearing in or filing a proof of claim in the FL

Bankruptcy to the extent such Claims are used defensively with respect to the Debtor’s POC.

                 5.     Nothing herein shall be construed as an admission or acknowledgment of

any liability or wrongdoing by the Debtor, the Liquidating Trustee, or the Liquidating Trust,

including with respect to the Debtor’s POC.

                 6.     The FL Court shall have exclusive jurisdiction and power to resolve any

dispute arising out of, relating to, or deriving from this Stipulation and has the jurisdiction and

power to enter a final order thereon.


Dated: ,   6/1          2020                           BRUCE STEVEN FRANK


                                                       By:
                                                             Name:


         6/1
Dated: ______________, 2020                            ADVISORY TRUST GROUP, IN ITS
                                                       CAPACITY AS LIQUIDATING TRUSTEE
                                                       OF THE FRANK THEATERS
                                                       LIQUIDATING TRUST
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                               By: Steven W. Golden on behalf of Advisory Trust Group
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                                    [Proposed Order]




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                              West Palm Beach Division
                                www.flsb.uscourts.gov

In re:                                        Case No. 19-15509-BKC-EPK

BRUCE STEVEN FRANK,                           Chapter 11

      Debtor.
___________________________________/

       ORDER GRANTING DEBTOR’S MOTION TO APPROVE SETTLEMENT
   BETWEEN BRUCE STEVEN FRANK AND ADVISORY TRUST GROUP, LLC, IN ITS
     CAPACITY AS TRUSTEE OF THE FRANK THEATERS LIQUIDATING TRUST


         THIS CAUSE came on before the Court upon the Debtor’s Motion to Approve

Settlement with Advisory Trust Group, LLC, in its capacity as Trustee of the Frank Theaters

Liquidating Trust (the “Motion”), filed pursuant to Local Rule 9013-1(D), and the movant by

submitting this form of order having represented that the Motion was served on all parties

required by Local Rule 9013-1(D), that the 21-day response time provided by that rule has

expired, that no one has filed, or served on the movant, a response to the Motion, that the
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form of order was attached as an exhibit to the Motion, and the Court, having considered

the Motion and being otherwise duly advised in the premises, it is ORDERED as follows:

      1.      The Motion is GRANTED and the Settlement Agreement attached to the

Motion is APPROVED.

      2.      The terms of the Settlement Agreement are incorporated herein.

      3.      The Court retains jurisdiction to enforce the terms of the Settlement

Agreement.

                                           ###

Submitted by:

Felipe Plechac-Diaz, Esq.
Leiderman Shelomith Alexander
+ Somodevilla, PLLC
2699 Stirling Road, Suite C401
Ft. Lauderdale, Florida 33312
Telephone (954) 920-5355
Facsimile (954) 920-5371
fpd@lsaslaw.com

Copies to:

All parties and creditors listed on the court matrix.

Attorney Plechac-Diaz is directed to serve copies of this order on all parties above
and to file a certificate of service.
                                Case 19-15509-EPK     Doc 249         Filed 06/01/20        Page 14 of 21
Label Matrix for local noticing              ACAR Leasing LTD, Inc., d/b/a GM Financial L       Brixmor Victory Square, LLC
113C-9                                       c/o Kelley Kronenberg Attorneys at Law             c/o Joaquin J. Alemany, Esq.
Case 19-15509-EPK                            1511 N. Westshore Blvd., Suite 400                 Holland & Knight LLP
Southern District of Florida                 Tampa, FL 33607-4596                               701 Brickell Avenue, Suite 3300
West Palm Beach                                                                                 Miami, FL 33131-2898
Mon Jun 1 17:36:44 EDT 2020
Frank Investments, Inc.                      Investors Bank                                     Murrells Retail Associates, LLC
c/o Shraiberg, Landau & Page, PA             c/o Nelson Mullins Broad and Cassel                c/o Fowler White Burnett, PA
2385 NW Executive Center Dr., #300           2 S. Biscayne Blvd., 21st Floor                    515 N Flagler Dr #2100
Boca Raton, FL 33431-8530                    Miami, FL 33131-1800                               West Palm Beach, Fl 33401-4332


NEC Financial Services LLC                   Palm Beach County Tax Collector                    Professional Bank
c/o Mitrani, Rynor, Adamsky & Toland PA      c/o Orfelia M Mayor Esq                            c/o Leyza F. Blanco, Esq.
1200 weston road                             POB 3715                                           Sequor Law
PH                                           West Palm Beach, FL 33402-3715                     1001 Brickell Bay Drive
PH                                                                                              9th Floor
Weston, FL 33326-1987                                                                           Miami, FL 33131-4937
TD Auto Finance, LLC                         The Bancorp Bank                                   United Bank of Philadelphia
c/o Bertis Echols                            c/o Heather L. Ries                                c/o McElroy, Deutsch et al
1715 Aaron Brenner Dr., Suite 800            777 S. Flagler Dr #1700 W Tower                    201 East Kennedy Blvd #815
Memphis, TN 38120-1445                       West Palm Beach, FL 33401-6159                     Tampa, FL 33602-5870


Water Tower Square Associates                21st Century Fox                                   35 Oak US 5, Inc.
c/o Joshua W. Dobin, Esq.                    2121 Avenue of the Stars # 700                     48 E Flagler St PH # 104
Meland Russin & Budwick, P.A.                Los Angeles, CA 90067-5032                         Miami, FL 33131-1012
200 S. Biscayne Blvd.
Suite 3200
Miami, FL 33131-5323
35 Oak US 5, Inc.                            35 Oak US 5, Inc.                                  35 Oak US 5, Inc.
c/o Akerman LLP                              c/o D. Brett Marks, Esq.                           c/o Sprechman & Fisher, P.A.
Three Brickell City Centre                   350 E. Las Olas Blvd., Suite 1600                  2775 Sunny Isles Blvd # 100
98 SE 7 St # 1100                            Fort Lauderdale, FL 33301-4247                     Miami, FL 33160-4078
Miami, FL 33131-3525

ACAR Leasing LTD                             AJAX METAL BUILDING MASTER TENANT LP aka COR       Ajax Metal Building Master Tenant LP
GM Financial Leasing                         566 SOUTH BETHELEHEM PIKE                          114 Chestnut St
PO Box 183853                                FORT WASHINGTON, PA 19034-2108                     5th Floor
Arlington, TX 76096-3853                                                                        Philadelphia, PA 19106-3069


Ajax Metal Building Master Tenant LP         All Star Development of Conway, LLC                Amazon Content Services LLC
c/o Glenn M. Ross, P.C.                      1003 W Indiantown Rd # 210                         POB 84188
566 S Bethlehem Pike                         Jupiter, FL 33458-6851                             Seattle, WA 98124-5488
Fort Washington, PA 19034-2108


American Express                             American Express                                   American Express National Bank
Correspondence/Bankruptcy                    POB 981537                                         c/o Becket and Lee LLP
POB 981540                                   El Paso, TX 79998-1537                             PO Box 3001
El Paso, TX 79998-1540                                                                          Malvern PA 19355-0701


BOTO SC Properties, LLC                      Bank of America, N.A.                              Bank of America, N.A.
c/o M. Kevin McCarrell                       4909 Savarese Cir                                  P O Box 982284
Fox Rothschild LLP                           FL1-908-01-50                                      El Paso, TX 79998-2284
2 West Washington Street, Suite 1100         Tampa, FL 33634-2413
Greenville, SC 29601-2784
                                 Case 19-15509-EPK     Doc 249        Filed 06/01/20   Page 15 of 21
(p)BANK OF AMERICA                            Barclays Bank Delaware                       Barclays Bank Delaware
PO BOX 982238                                 Attn: Correspondence                         POB 8803
EL PASO TX 79998-2238                         POB 8801                                     Wilmington, DE 19899-8803
                                              Wilmington, DE 19899-8801


Brixmor Victory Square, LLC                   Brixmor Victory Square, LLC                  Brixmor Victory Square, LLC
450 Lexington Ave                             c/o Holland & Knight LLP                     c/o W. Kerry Howell, LLC
13th Floor                                    Joaquin J. Alemany, Esq.                     230 Third St
New York, NY 10017-3956                       701 Brickell Avenue, Suite 3300              Macon, GA 31201-3310
                                              Miami, FL 33131-2847

Buena Vista Pictures Distribution             Buena Vista Pictures Distribution            (p)CENTENNIAL BANK ATTN SPECIAL ASSETS
Legal Department                              c/o ABC-Amega, Inc.                          P O BOX 1028
350 S Buena Vista St                          500 Seneca St # 400                          CABOT AR 72023-1028
Burbank, CA 91521-1233                        Buffalo, NY 14204-1963


Centennial Bank                               (p)JPMORGAN CHASE BANK N A                   Chrysler Financial/TD Auto
c/o Pineiro Byrd PLLC                         BANKRUPTCY MAIL INTAKE TEAM                  Attn: Bankruptcy
4600 Military Trail # 212                     700 KANSAS LANE FLOOR 01                     POB 9223
Jupiter, FL 33458-4812                        MONROE LA 71203-4774                         Farmington Hills, MI 48333-9223


Citibank, N.A.                                Citibank, N.A.                               City Place Retail, LLC
POB 6077                                      POB 6241                                     60 Columbus Cir 19th Fl
Sioux Falls, SD 57117-6077                    Sioux Falls, SD 57117-6241                   New York, NY 10023-5802



Core Equity II, L.P.                          Core Equity II, L.P.                         Craig Ganz
114 Chestnut St                               c/o Glenn M. Ross, P.C.                      c/o Ballard Spahr LLP
5th Floor                                     566 S Bethlehem Pike                         1 E. Washington Street
Philadelphia, PA 19106-3069                   Fort Washington, PA 19034-2108               Suite 2300
                                                                                           Phoenix, AZ 85004-2555

Daniel C. Bruton                              (p)DE LAGE LANDEN FINANCIAL                  Department of the Treasury
Bell Davis & Pitt, PA                         ATTN LITIGATION & RECOVERY                   Internal Revenue Service
PO Box 21029                                  1111 OLD EAGLE SCHOOL ROAD                   1973 N Rulon White Blvd
Winston-Salem, NC 27120-1029                  WAYNE PA 19087-1453                          Ogden, UT 84201-0062


Department of the Treasury                    Department of the Treasury                   Destiny USA Holdings, LLC
Internal Revenue Service                      Internal Revenue Service                     4 Clinton Square
POB 7317                                      POB 7346                                     Syracuse, NY 13202-1078
Philadelphia, PA 19101-7317                   Philadelphia, PA 19101-7346


Destiny USA Holdings, LLC                     Destiny USA Holdings, LLC                    Eric A. Rosen, Esq.
c/o Akerman, LLP                              c/o Young/Sommer LLC                         Fowler White Burnett, P.A.
350 E Las Olas Blvd # 1600                    Five Palisades Dr                            515 North Flagler Drive
Fort Lauderdale, FL 33301-4247                Albany, NY 12205-6437                        Suite 2100
                                                                                           West Palm Beach, FL 33401-4332

Estate of Terry Parmet Frank                  FEC Holdings, LLC                            First Run, LLC
c/o Bruce Steven Frank                        1003 W Indiantown Rd # 210                   W3995 Kelly Rd
1003 W Indiantown Rd # 210                    Jupiter, FL 33458-6851                       Lake Geneva, WI 53147-3448
Jupiter, FL 33458-6851
                                 Case 19-15509-EPK     Doc 249        Filed 06/01/20   Page 16 of 21
Frank All Star Theatres, LLC                  Frank All Star Theatres, LLC                 Frank Entertainment Companies, LLC
1003 W Indiantown Rd # 210                    c/o Lowenstein Sandler LLP                   c/o Shraiberg Landau & Page, P.A.
Jupiter, FL 33458-6851                        1 Lowenstein Dr                              2385 NW Executive Center Dr # 300
                                              Roseland, NJ 07068-1740                      Boca Raton, FL 33431-8530


Frank Entertainment Group, LLC                Frank Entertainment Group, LLC               Frank Entertainment Group, LLC
1003 W Indiantown Rd # 210                    c/o GrayRobinson, P.A.                       c/o Lowenstein Sandler LLP
Jupiter, FL 33458-6851                        515 N Flagler Dr # 1425                      1 Lowenstein Dr
                                              West Palm Beach, FL 33401-4349               Roseland, NJ 07068-1740


Frank Entertainment Group, LLC                Frank Entertainment PSL, LLC                 Frank Entertainment Rock Hill LLC
c/o Shraiberg Landau & Page, P.A.             c/o Lowenstein Sandler LLP                   c/o Lowenstein Sandler LLP
2385 NW Executive Center Dr # 300             1 Lowenstein Dr                              1 Lowenstein Dr
Boca Raton, FL 33431-8530                     Roseland, NJ 07068-1740                      Roseland, NJ 07068-1740


Frank Hospitality Penn Treaty, LLC            Frank Hospitality Saucon Valley LLC          Frank Hospitality York LLC
1003 W Indiantown Rd # 210                    c/o Lowenstein Sandler LLP                   c/o Lowenstein Sandler LLP
Jupiter, FL 33458-6851                        1 Lowenstein Dr                              1 Lowenstein Dr
                                              Roseland, NJ 07068-1740                      Roseland, NJ 07068-1740


Frank Investments, Inc.                       Frank Management LLC                         Frank Management, LLC
c/o Shraiberg Landau & Page, P.A.             c/o Lowenstein Sandler LLP                   1003 W Indiantown Rd # 210
2385 NW Executive Center Dr # 300             1 Lowenstein Dr                              Jupiter, FL 33458-6851
Boca Raton, FL 33431-8530                     Roseland, NJ 07068-1740


Frank Montgomeryville, LLC                    Frank Theatre Group                          Frank Theatres Bayonne/South Cove, LLC
1003 W Indiantown Rd # 210                    8205 Lagoon Dr # 210                         c/o Lowenstein Sandler LLP
Jupiter, FL 33458-6851                        Margate City, NJ 08402-1618                  1 Lowenstein Dr
                                                                                           Roseland, NJ 07068-1740


Frank Theatres Blacksburg LLC                 Frank Theatres Delray, LLC                   Frank Theatres Inlet Square, LLC
c/o Lowenstein Sandler LLP                    c/o Lowenstein Sandler LLP                   1003 W Indiantown Rd # 210
1 Lowenstein Dr                               1 Lowenstein Dr                              Jupiter, FL 33458-6851
Roseland, NJ 07068-1740                       Roseland, NJ 07068-1740


Frank Theatres Kingsport LLC                  Frank Theatres Kingsport, LLC                Frank Theatres Management, LLC
c/o Lowenstein Sandler LLP                    1003 W Indiantown Rd # 210                   c/o Shraiberg Landau & Page, P.A.
1 Lowenstein Dr                               Jupiter, FL 33458-6851                       2385 NW Executive Center Dr # 300
Roseland, NJ 07068-1740                                                                    Boca Raton, FL 33431-8530


Frank Theatres Montgomeryville, LLC           Frank Theatres Mt. Airy, LLC                 Frank Theatres Parkside Town Commons LLC
c/o Lowenstein Sandler LLP                    c/o Lowenstein Sandler LLP                   c/o Lowenstein Sandler LLP
1 Lowenstein Dr                               1 Lowenstein Dr                              1 Lowenstein Dr
Roseland, NJ 07068-1740                       Roseland, NJ 07068-1740                      Roseland, NJ 07068-1740


Frank Theatres Rio, LLC                       Frank Theatres Rio, LLC                      Frank Theatres Sanford, LLC
1003 W Indiantown Rd # 210                    c/o Lowenstein Sandler LLP                   c/o Lowenstein Sandler LLP
Jupiter, FL 33458-6851                        1 Lowenstein Dr                              1 Lowenstein Dr
                                              Roseland, NJ 07068-1740                      Roseland, NJ 07068-1740
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Frank Theatres Shallotte, LLC                 Frank Theatres Southern Pines, LLC              Frank Theatres Teays Valley LLC
c/o Lowenstein Sandler LLP                    c/o Lowenstein Sandler LLP                      209 W Washington St
1 Lowenstein Dr                               1 Lowenstein Dr                                 Charleston, WV 25302-2348
Roseland, NJ 07068-1740                       Roseland, NJ 07068-1740


Frank Theatres Towne, LLC                     Frank Theatres Victory, LLC                     Frank Theatres York, LLC
c/o Lowenstein Sandler LLP                    1003 W Indiantown Rd # 210                      c/o Lowenstein Sandler LLP
1 Lowenstein Dr                               Jupiter, FL 33458-6851                          1 Lowenstein Dr
Roseland, NJ 07068-1740                                                                       Roseland, NJ 07068-1740


Frank Theatres, LLC                           GLENN M. ROSS                                   GM Financial
c/o Lowenstein Sandler LLP                    566 SOUTH BETHELEHEM PIKE                       POB 100
1 Lowenstein Dr                               FORT WASHINGTON, PA 19034-2108                  Williamsville, NY 14231-0100
Roseland, NJ 07068-1740


GM Financial                                  Galleria Cinema, LLC                            (p)GEORGIA DEPARTMENT OF REVENUE
POB 183581                                    c/o Lowenstein Sandler LLP                      COMPLIANCE DIVISION
Arlington, TX 76096-3581                      1 Lowenstein Dr                                 ARCS BANKRUPTCY
                                              Roseland, NJ 07068-1740                         1800 CENTURY BLVD NE SUITE 9100
                                                                                              ATLANTA GA 30345-3202

Investors Bank                                Investors Bank                                  Investors Bank
101 JFK Pkwy                                  c/o Andrew Rohmeyer                             c/o Dilworth Paxson LLP
Short Hills, NJ 07078-2793                    Investors Bank                                  1500 Market St # 3500E
                                              205 N. Washington Avenue                        Philadelphia, PA 19102-2101
                                              Dunellen, NJ 08812-1245

JTL Rock Hill, LLC                            James J. Webb,                                  Jeffrey Kurtzman, Esquire
Bank of the Ozarks                            c/o James J. Webb                               Kurtzman Steady, LLC
8201 Preston Rd # 700                         1200 Weston Road, Third Floor                   401 S. 2nd Street, Suite 200
Dallas, TX 75225-6214                         Weston, FL 33326-1987                           Philadelphia, PA 19147-1612


Jessica Crowder                               Joyce Frank                                     Jupiter Medical Center
NJ Division of Taxation                       392 Eagle Dr                                    1210 Old Dixie Hwy
Pioneer Credit Recovery                       Jupiter, FL 33477-4066                          Jupiter, FL 33458-7299
POB 1018
Moorestown, NJ 08057-0018

Jupiter Medical Center                        Kingsport Mall, LLC                             Larsen Capital, LLC
POB 997                                       c/o R. Lee McVey II, Esq.                       638 E Atlantic Ave
Jupiter, FL 33468-0997                        108 E Main St # 208                             Delray Beach, FL 33483-5326
                                              Kingsport, TN 37660-4257


Las Olas Riverfront, LP                       Las Olas Riverfront, LP                         Lionsgate
2434 E Last Olas Blvd                         c/o Jason R. Block                              2700 Colorado Ave
Fort Lauderdale, FL 33301-1573                Rennert Vogel Mandler & Rodriguez, PA           Santa Monica, CA 90404-5502
                                              100 SE 2 St # 2900
                                              Miami, FL 33131-2119

M. Kevin McCarrell                            Malvern Bank, N.A.                              Murrells Retail Associates, LLC
Fox Rothschild LLP                            42 E Lancaster Ave                              c/o Parker Poe Adams & Bernstein, LLP
2 West Washington Street, Suite 1100          Paoli, PA 19301-1455                            200 Meeting St # 300
Greenville, SC 29601-2784                                                                     Charleston, SC 29401-3156
                                  Case 19-15509-EPK     Doc 249           Filed 06/01/20   Page 18 of 21
(p)NEC FINANCIAL SERVICES                      NEC Financial Services, LLC                     NEC Financial Services, LLC
250 PEHLE AVE                                  c/o Mitrani, Rynor, Adamsky & Toland, PA        c/o Romano, Garubo & Argentieri
STE 704                                        1200 Weston Rd # PH                             52 Newton Ave
SADDLE BROOK NJ 07663-5888                     Weston, FL 33326-1987                           Woodbury, NJ 08096-4610


National Commercial Builders, Inc.             National Commercial Builders, Inc.              Nehmad Perillo Davis & Goldstein, P.C.
10555 Rene St                                  c/o Hurvitz & Waldman LLC                       4030 Ocean Heights Ave # 100
Lenexa, KS 66215-4054                          1008 S New Rd                                   Egg Harbor Township, NJ 08234-7505
                                               Pleasantville, NJ 08232-3730


Newspaper Media Group                          No S Properties, LLC                            No S Properties, LLC
130 Twinbridge Dr                              135 Corporate Centre Dr # 550                   500 Corporate Centre Dr # 550
Pennsauken, NJ 08110-4202                      Scott Depot, WV 25560-7863                      Scott Depot, WV 25560



No S Properties, LLC                           Office of the US Trustee                        Oracle America, Inc.
c/o Tyree, Embree & Associates, PLLC           51 S.W. 1st Ave.                                POB 44471
3564 Teays Valley Rd                           Suite 1204                                      San Francisco, CA 94144-4471
Hurricane, WV 25526-0319                       Miami, FL 33130-1614


(c)PADULA BENNARDO LEVINE, LLP                 Paramount                                       Professional Bank
3837 NW 2ND AVE STE 200                        5555 Melrose Ave                                1567 San Remo Ave
BOCA RATON FL 33431-5860                       Los Angeles, CA 90038-3197                      Coral Gables, FL 33146-3008



Professional Bank                              Queensgate Partners, LP                         Revolutions at City Place LLC
396 Alhambra Cir # 255                         c/o Property Mgmt Alternatives                  c/o Lowenstein Sandler LLP
Coral Gables, FL 33134-5022                    120 N Pointe Blvd # 301                         1 Lowenstein Dr
                                               Lancaster, PA 17601-4130                        Roseland, NJ 07068-1740


Revolutions at Penn Treaty, LLC                Revolutions of Saucon Valley LLC                Rio Mall, LLC
1003 W Indiantown Rd # 210                     c/o Lowenstein Sandler LLP                      c/o Shraiberg Landau & Page, P.A.
Jupiter, FL 33458-6851                         1 Lowenstein Dr                                 2385 NW Executive Center Dr # 300
                                               Roseland, NJ 07068-1740                         Boca Raton, FL 33431-8530


STORE Master Funding III, LLC                  STX Entertainment                               Saucon Valley School District
Craig Ganz                                     3900 W Alameda Ave                              c/o Portnoff Law Associates, Ltd.
c/o Ballard Spahr LLP                          Burbank, CA 91505-4316                          2700 Horizon Dr # 100
1 E. Washington Street, Suite 2300                                                             King of Prussia, PA 19406-2726
Phoenix, AZ 85004-2555

Sheridan Emerg Phys Srvcs, Inc                 Sony Pictures Releasing                         Sony Pictures Releasing
POB 80217                                      10202 W Washington Blvd                         POB 840550
Philadelphia, PA 19101-1217                    Culver City, CA 90232-3195                      Dallas, TX 75284-0550



South Carolina Department of Revenue           (p)STATE OF NEW JERSEY                          Store Master Funding III, LLC
POB 2535                                       DIVISION OF TAXATION BANKRUPTCY UNIT            8501 E Princess Dr # 190
Columbia, SC 29202-2535                        PO BOX 245                                      Scottsdale, AZ 85255-5494
                                               TRENTON NJ 08646-0245
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SunTrust Bank                                  Suntrust Bank Atlanta                          Suntrust Bank Atlanta
Bankruptcy Dept.                               Attn: Bankruptcy                               POB 85526
P.O. Box 85092                                 Mail Code VA-RVW-6290                          Richmond, VA 23285-5526
Richmond, VA 23286-0001                        POB 85092
                                               Richmond, VA 23286-0001

Superplay Development Group, LLC               Surrey Bank & Trust                            Surrey Bank & Trust
1003 W Indiantown Rd # 210                     Attn: Peter A. Pequeno, SVP                    c/o R. Bradford Leggett, Esq.
Jupiter, FL 33458-6851                         145 N Renfro St                                Allman Spry
                                               Mount Airy, NC 27030-3834                      Post Office Drawer 5129
                                                                                              Winston Salem, NC 27113-5129

Surrey Bank & Trust                            Surrey Bank & Trust                            Sysco Business Services
c/o Richard M. Lovelace, Jr., P.A.             Attn: Linda Owen                               24500 Hwy 290
POB 1704                                       145 North Renfro Street                        Cypress, TX 77429
Conway, SC 29528-1704                          Mount Airy, NC 27030-3834


TD Auto Finance, LLC                           TD Auto Finance, LLC                           TD Auto Finance, LLC
Attn: Bankruptcy                               POB 16041                                      c/o Bertis Echols, Esq.
POB 9223                                       Lewiston, ME 04243-9523                        Evans Petree PC
Farmington Hills, MI 48333-9223                                                               1715 Aaron Brenner Dr # 800
                                                                                              Memphis, TN 38120-1445

The Bancorp Bank                               The Sheehan Agency, LLC                        Tilton Shopping Center
405 Silverside Rd # 105                        500 University Blvd # 207                      1003 W Indiantown Rd # 210
Wilmington, DE 19809-1768                      Jupiter, FL 33458-2775                         Jupiter, FL 33458-6851



Twentieth Century Fox Film Corp.               United Artist Releasing                        United Bank of Philadelphia
5799 Collection Center Dr                      750 N San Vicente Blvd                         30 S 15 St # 1200
Chicago, IL 60693-0001                         Red Tower E                                    Philadelphia, PA 19102-4805
                                               12th Floor
                                               West Hollywood, CA 90069-5788

United Bank of Philadelphia                    Universal Film Exchanges LLC                   Universal Film Exchanges LLC
McElroy, Deutsch, Mulvaney & Carpenter         100 Universal City Plaza                       POB 848270
1617 John F. Kennedy Blvd # 1500               Universal City, CA 91608-1002                  Dallas, TX 75284-8270
Philadelphia, PA 19103-1815


VW Credit, Inc                                 VW Credit, Inc                                 VW Credit, Inc
1401 Franklin Blvd                             Attn: Bankruptcy                               POB 610353
Libertyville, IL 60048-4460                    POB 3                                          Dallas, TX 75261-0353
                                               Hillboro, OR 97123-0003


VW Credit, Inc                                 Walt Disney Studios Motion Pictures            Warner Brothers
POB 9013                                       500 S Buena Vista Street                       4000 Warner Blvd
Addison, TX 75001-9013                         Burbank, CA 91521-0001                         Burbank, CA 91522-0002



Water Tower Square Associates                  Water Tower Square Associates                  WhiteKnight Solutions LLC
c/o Jeffrey Kurtzman, Esq.                     c/o Jeffrey Kurtzman, Esquire                  2401 NW Boca Raton Blvd
Kurtzman Steady, LLC                           401 S. 2nd Street, Suite 200                   Boca Raton, FL 33431-6632
38 N Haddon Ave                                Philadelphia, PA 19147-1612
Haddonfield, NJ 08033-2422
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WhiteKnight Solutions LLC                            WhiteKnight Solutions LLC                            Alan Fyne
4455 Military Trail # 201                            490 Sawgrass Corporate Pkwy # 200                    1515 N University DR., Ste. 114
Jupiter, FL 33458-4828                               Sunrise, FL 33325-6252                               Coral Springs, FL 33071-6084



Bruce Steven Frank                                   Felipe Plechac-Diaz                                  Harold G. Cohen
392 Eagle Dr                                         2699 Stirling Rd c401                                457 Haddonfield Road
Jupiter, FL 33477-4066                               Fort Lauderdale, FL 33312-6598                       Suite 700
                                                                                                          Cherry Hill, NJ 08002-2201


Jerry R Desiderato                                   Jesus Gonzalez                                       Laura Ketcham
1500 Market Street                                   c/o Jagzen Fincial LLC                               Volunteer Building, Suite 1200
Suite 3500E                                          7601 W 15th Ave                                      Chattanooga, TN 37402
Philadelphia, PA 19102-2101                          Hialeah, FL 33014-3305


Leslie Heilman                                       Zach B Shelomith
919 N Market Street                                  2699 Stirling Rd # C401
Wilmington, DE 19801-3023                            Ft Lauderdale, FL 33312-6598




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America, N.A.                                Centennial Bank                                      Chase Card Services
POB 982238                                           719 Harkrider St                                     Correspondence Dept
El Paso, TX 79998                                    POB 966                                              POB 15298
                                                     Conway, AR 72032                                     Wilmington, DE 19850


De Lage Landen Financial Services, Inc.              Georgia Department of Revenue                        NEC Financial Services, LLC
POB 41602                                            Taxpayer Services Division                           250 Pehle Ave # 704
Philadelphia, PA 19101-1602                          POB 740321                                           Saddle Brook, NJ 07663
                                                     Atlanta, GA 30374-0321


State of New Jersey
Department of the Treasury
Division of Taxation/Bankruptcy Section
POB 245
Trenton, NJ 08695-0245



                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


Padula Bennardo Levine, LLP
3837 NW Boca Raton Blvd # 200
Boca Raton, FL 33431
                              Case 19-15509-EPK              Doc 249         Filed 06/01/20       Page 21 of 21


                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Centennial Bank                                  (u)Larsen Capital, LLC                               (u)West Palm Beach




(u)Centennial Bank, N.A.                           (d)Professional Bank                                 (d)WhiteKnight Solutions, LLC
                                                   c/o Leyza F. Blanco, Esq.                            2401 NW Boca Raton Boulevard
                                                   Sequor Law                                           Boca Raton, FL 33431-6632
                                                   1001 Brickell Bay Drive, 9th Floor
                                                   Miami, FL 33131-4937

End of Label Matrix
Mailable recipients   190
Bypassed recipients     6
Total                 196
